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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                      §             MDL No. 2179
       “DEEPWATER HORIZON” in the                    §
       GULF OF MEXICO on                             §              SECTION: J
       APRIL 20, 2010                                §
                                                     §       Judge Carl J. Barbier
                                                     §   Magistrate Judge Sally Shushan
         This document relates to:                   §
                                                     §
                   2:10-cv-03168                     §
                                                     §
                                                     §
                                                     §
                                                     §
                                                     §


                                     NOTICE OF SUBMISSION

TO:      Counsel

         PLEASE TAKE NOTICE that subject to Pre-trial Orders Nos. 11 and 25, in which the

Court directed that the Court will set the date of all hearings on Motions in this case, the Motion

of Defendant M-I L.L.C. to Dismiss Plaintiffs’ Sixth Amended Complaint is tentatively noticed

for submission on August 3, 2011, at 9:30 a.m.




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                                 Respectfully submitted,


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                               CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing M-I L.L.C.’s Notice of Submission has

been served on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in

accordance with Pretrial Order No. 12, and that the foregoing was electronically filed with the

Clerk of Court of the United States District Court for the Eastern District of Louisiana by using

the CM/ECF System, which will send a notice of electronic filing in accordance with the

procedures established in MDL 2179, on this 7th day of June, 2011.



                                                           /s/ Hugh E. Tanner
                                                           Hugh E. Tanner




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